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            IN THE UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF OKLAHOMA


United States of America,             )
      Plaintiff,                      )
vs.                                   )               Case Nos.     22-CR-115-JFH
                                      )
Richard Dale Deeter, Jr.              )


                             Defendant Richard Dale Deeter, Jr’s
                     Opposed Motion for Production of Brady Material
     or, in the Alternative, In Camera Review of Such Material and Brief in Support1

       Defendant Richard Dale Deeter, Jr. (hereinafter referred to as “Mr. Deeter”) hereby

moves the Court for an Order directing production of certain Brady material, or, in the

alternative, in camera review of such material.

       For the reasons set forth more fully below, the Court is asked to either compel

production of Detective Jeffrey Gatwood’s internal affairs file with the Tulsa, Oklahoma Police

Department, to Mr. Deeter (subject to an appropriate protective order), or order such material

produced to the Court for in camera review.

       A Brief in support of this Motion is set forth below.

                                              Introduction

       The documents sought bear on Mr.Gatwood’s credibility: his internal affairs file may well

contain evidence that impeaches his credibility.

                                              Brady

       Brady v. Maryland, 373 U.S. 83 (1963), which is and has been the law of the land for


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        Concurrence was refused. The Government indicates that it will not produce the material
requested. Additionally, the parties have conferred in good faith and been unable to resolve this
dispuute.
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more than five decades, held that a prosecutorial authority, when asked, must disclose to a

Defendant information that is material either to the determination of guilt, innocence or

punishment:

                       “We now hold that the suppression by the prosecution of evidence
               favorable to an accused upon request violates due process where the evidence is
               material either to guilt or to punishment, irrespective of the good faith or bad faith
               of the prosecution.”

Brady, 373 U.S. at 87.

       Two decades later the Supreme Court made crystal-clear that impeachment material

qualifies as such evidence, and thus must be produced as well:

                      “‘Impeachment evidence....is ‘evidence favorable to the accused' and falls
               ‘within the Brady rule.’"

U.S. v. Bagley, 473 U.S. 667, 676 (1984). That is, and has been, the law of the land for more

than twenty-five years.



                          Brady and Police Department Internal Files

       That rule applies to the internal files of police departments:

               "We agree ‘that there may indeed be situations in which evidence from…internal
       investigations will bear heavily on the credibility of a testifying police officer...'"


 U.S. v. Fuentez, 231 F.3d 700, 705 (10th Cir. 2000) (citing U.S. v. Johnson, 968 F.2d 765, 767

(8th Cir. 1992)). There is no recognized evidentiary privilege against disclosure of such files. See

In Re Jury Grand Jury Subpoenas December 7 and 8, Issued to Bob Stover, Chief of the

Albuquerque Police Department v. U.S., 40 F.3d 1096 (10th Cir. 1994).

       To be even more precise, not only are such files discoverable, their contents, when they


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bear on the subject officer's character for truthfulness or untruthfulness, are admissible as well:

U.S. v. Nelson, 365 F.Supp.2d 381 (S.D. N.Y. 2005).

       In Nelson, the Government sought to preclude a Defendant from

cross-examining a police officer about an internal affairs investigation which concluded that his

testimony in the internal affairs investigation was not credible. The court denied the

Government's motion on that point, noting the Brady-inspired Constitutional considerations set

forth above:

               "Moreover, given the Court's view that Commissioner Sarner's finding is in fact
       probative of Rodriguez's credibility, prohibiting inquiry into that finding on
       cross-examination would render ineffective the requirement that the Government disclose
       the finding to the defendant pursuant to Giglio v. United States, 405 U.S. 150, 92 S.Ct.
       763, 31 L.Ed.2d 104 91972). Giglio held that, where ‘reliability of a given witness
       may…be determinative of guilt or innocence,' the government must disclose any
       ‘evidence affecting [that witness's] credibility.' Id. at 154 (quoting Napue v. Illinois, 360
       U.S. 264, 269, 79 S.Ct. 1173, 3 L.Ed.2d 1217 (1957)). In light of the fact that
       Commissioner Sarner's finding is quintessential Giglio material, a ruling that, once
       produced, the defense could not use this material would be in tension with the
       requirement that the Government disclose it. Viewing all of these considerations in the
       context of the presumption in favor of admissibility as well as the heightened importance
       of the right to confront witnesses as a protection for criminal defendants, the Court finds
       that Nelson may, in cross-examining Rodriguez, inquire into Commissioner Sarner's
       finding regarding Rodriguez's credibility."


Nelson, 365 F.Supp. 2d at 391.

       The Nelson court noted principles that strongly favored admission:

               "'…wide latitude should be allowed…when a government witness in a criminal
       case is being cross-examined by the defendant, and the trial judge's discretion ‘cannot be
       expanded to justify a curtailment which keeps from the jury relevant and important facts
       bearing on the trustworthiness of crucial testimony…" and that " Where evidence of
       witness character is offered by a defendant in a criminal proceeding, the policy of
       promoting accurate fact finding may have constitutional underpinnings.' In addition, the
       Federal Rules of Evidence generally favor admission of evidence, such that ‘if there is a
       doubt about the existence of unfair prejudice, confusion of the issues, misleading, undue


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       delay, or waste of time, it is generally better practice to admit the evidence, taking
       necessary precautions by way of contemporaneous instructions to the jury followed by
       additional admonitions in the charge."


Nelson, 365 F.Supp.2d at 386-387, citing U.S. v. Pedroza, 750 F.2d 187, 195-196 (2d Cir. 1984);

Gordon v. U.S., 344 U.S. 414, 423 (1953) ; Wright & Miller, § 6118 and Weinstein &Berger, §

403.02[2][c].

       It bears noting that the Court is not being asked to rule on the admissibility of those files

in general or anything in particular in those files at this point. The Court is only asked to order

their production, for review, in order to determine the usefulness of impeachment

material therein.

       While, at bottom, Mr. Deeter will settle for the in camera review contemplated by some

of the case law set forth above, it should be noted for the record that he prefers production

directly to counsel, albeit with a proper protective order. That is for two reasons- first, the Court

has enough to do; and second, the Court, despite its expertise (really, because of it, as a

manifestation of objectivity and neutrality), might not attribute to the subject material the same

value an advocate would attribute to it:

                        “...the Court reserved decision on the question whether in camera
       inspection by the trial judge is an appropriate or satisfactory measure when there is a
       showing of a ‘particularized need’ for disclosure. 360 U.S., at 400, 79 S.Ct., at 1241. This
       procedure, followed by production to defense counsel in the event the trial judge finds
       inconsistencies, has been adopted in some of the Courts of Appeals. In the Second Circuit
       it is available as a matter of right. While this practice may be useful in enabling the trial
       court to rule on a defense motion for production to it of grand jury testimony-and we do
       not disapprove it for that purpose-it by no means disposes of the matter. Trial judges
       ought not to be burdened with the task or the responsibility of examining sometimes
       voluminous grand jury testimony in order to ascertain inconsistencies with trial
       testimony. In any event, ‘it will be extremely difficult for even the most able and
       experienced trial judge under the pressures of conducting a trial to pick out all of the


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       grand jury testimony that would be useful in impeaching a witness.’ Pittsburgh Plate
       Glass, 360 U.S., at 410, 79 S.Ct., at 1246 (dissenting opinion). Nor is it realistic to
       assume that the trial court's judgment as to the utility of material for impeachment or
       other legitimate purposes, however conscientiously made, would exhaust the possibilities.
       In our adversary system, it is enough for judges to judge. The determination of what may
       be useful to the defense can properly and effectively be made only by an advocate. The
       trial judge's function in this respect is limited to deciding whether a case has been made
       for production, and to supervise the process: for example, to cause the elimination of
       extraneous matter and to rule upon applications by the Government for protective orders
       in unusual situations, such as those involving the Nation's security or clearcut dangers to
       individuals who are identified by the testimony produced.....”


Dennis v. U.S, 384 U.S. 855, 874-75 (1966).



                                            Conclusion

       Mr. Gatwood is likely to be a witness against Mr. Deeter at trial. Mr. Deeter has a

Constitutional right under the Sixth Amendment to subject the Govermnent’s case - - all of it,

at every stage - - to “...meaningful adversarial testing...” U.S. v. Cronic, 466 U.S. 648, 659

(1984). That right includes the ability to effectively cross-examine the witnesses against him, and

nothing is more central to that than the guarantees set forth in Brady and Bagley to impeachment

evidence.



                                                              Respectfully submitted,

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                                                            Attorney for Mr. Deeter




                                     Proof of Service

        I hereby certify that on this 22d day of December 2022, the foregoing was electronically
filed with the Clerk of Court using the CM/ECF system, which will then send a notification of
such filing (NEF) all counsel of record registered with the CM/ECF system.




                                                                   S/ Randy Lynn




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